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                    IN THE UNITED STATES DISTRICT COUR          filed
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                                              JUL 2 3 20)9
                             NORFOLK DIVISION


UNITED STATES OF AMERICA


      V.                               case   NO.
                                       Court Date:   September 16, 2019
MARIA T. SOTO




                           CRIMINAL INFORMATION


                (Misdemeanor)- Violation Notice No. 9104304

     THE UNITED STATES ATTORNEY CHARGES:


     That on or about July 13, 2019, at the Navy Exchange at Naval Air

Station Oceana, Virginia Beach, Virginia, in the Eastern District of

Virginia, the defendant, MARIA T. SOTO, did willfully and knowingly

steal and purloin property of the United States of a value less than

$1,000.00.

     (In violation of Title 18, United States Code, Section 641.)

                                   Respectfully submitted,

                                   G. Zachary Terwilliger
                                   United States Attorney




                             By:        J CL
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